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           -   Had 3 pages of notes
                  - Can we get to a state where I am not permanently miserable?
                         - The android team wants me miserable.
                         - Anna told me this point blank.
                         - How do you think that makes me feel?
                  - What is the status of the new P&E leader?
                  - Sitting through depo prep, defending people that want me to be miserable.

                  -   Does the company want me here or not?
                  -   Do not feel welcome
                  -   In the dark on amazon, huawei,tomkat, msft,jio.
                          - What is tomkat? Who is funding it? Another overlay?
                  -   Feeling directly and indirectly persecuted
                          - Anna told me Android leadership wants me to be miserable
                  -   In the dark on tom cat, huawei, new P&E leader, amazon (all of it in particular). In the
                      dark on msft/samsung thing
                  -   Strat Ops comes across as being in the driver seat for RSA, PDP, Al, new
                      product features, regulatory issues etc. etc. So it's super unclear who is the
                      decision maker, who is consulted and who is informed. APE is in the Informed
                      bucket on many of these things. Hope you can address the engagement model
                      that should be in place.
                  -   Going through deposition prep... I've worked so hard to do good for Google and
                      protect Google... and I get treated so badly (Joan and Jamie/Andy Rubin), and I ask
                      myself "why am I doing this? To protect Joan the billionaire who has corrupted my
                      career after I did so much for Google? To protect Andy Rubin?"
                  -   Why am I defending these people? Nick? Andy Rubin
                  -   The brush I am being painted with is Android's. Bachman and Sager; new VP's; they
                      love me. Kent as well. Han iger and Alston.
                          - Disciples of Andy don't. I'm fine with that.
                  -   What is going on with Amazon?
                  -   Why is Jamie leading the MSFT conversation on Play?
                  -   Something like Jio won't happen on the OEM front. And it kind of happened with
                      Samsung.
                              So I am honestly surprised the Chinese OEMs haven't come to us asking
                              for more clarification about our plans for India.
                          - When I discussed this with Don, Sameer and Jamie as part of the
                               preparations for the announcement, I think we were open to hearing what
                              their plans would be to go big in India and maybe we support via co-
                               marketing/etc.
                  -
           -   No feedback from Jame on promo candidaes
           -   Alegre got rich. Worst scores in googlegeist history
           -   Jamie managing the new p&e person? What do you tell the new P&E person?




                                                                                           EXHIBIT 6446
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           -   The dishonesty is the issue... not the structure... "just strategy" when in every partner
               meeting.
                    - No vacation. No holiday. No break. No end in sight.
                    - Lost my sabbatical when they cancelled them when I was working on the Yahoo deal.
           -   Anna: want me to be miserable.
           -   I never have one on one's with Jamie. I assume he wants me involved with nothing unless I
               ask or he is caught (like Huawei, and then he lies about it).
           -   Demeaning place to work
           -   What is going on with Amazon?
           -   How is the new P&E leader hunt coming along?
                    - How do you expect this person to co-exist with Jamie?
                    - Very dishonest in "just strategy" when involved in all discussions.
                    - Out of loop on Tomkat, Huawei, anything else?
           -   Tomkat lead under them? More overlay?
                    - Put them under Richard.
           -   Is it going to be Jamie, or not?
                    - Andy Rubin culture is rampant; but more passive aggressive, and not out in the open.
           -   Look at Don Leads... I can run chrome and toolbar distribution; run search distribution; only
               person that has that diversity of experience that is said is looked for in leaders. It's only
               because I worked for Joan that I did not move further. And now I'm going to be leveled.
                    - Need to be involved with Jio and MADA stuff.
                    - Jamie will be "runnign" carriers
                    - Will I meet them?
                    - My references were pretty good... does that matter?
                    - People like Shep and Manjari don't care about this stuff... leveling and what Shana
                        cares about. Should they?
                    - Lack of honesty at Android leadership. Lie to your face and stab you in the back.
                    - Huawei situation (never knew; my presence misrepresented
                    - Kate Lee specifically told me she was told to keep my team out
                    - Anna told me they want to make me miserable.
                            - How do you think that makes me feel? When leadership wants to make my
                                miserable.
                    - I am loyal to Google; not any person. Because no one has been loyal to me.
                            - 100 days of vacation time back
                            - Pneumonia after the Yahoo deal
                                    - Bronchitis every year.
           -   Pretty demeaning place to work.
           -   Ryan Tabone. In the clique of douchebags under Sundar.
           -   Status of Amazon?
           -   StratOps ShareForce work; completely excluded
           -   Huawei work. Completely excluded. And mis-represented "Jim had to drop" when never
               invited.
           -   Doing things right for the long-run not recognized
                    - Nothing for Yahoo




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           -   Security thing. Give Covid exception but ask for extended updates in return. Not being
               empathetic.
           -
           -   Jamie and Samsung proposal. Travis and Anil. No direction. They are locked in a room and
               no idea what they have in mind and before getting any Samsung feedback.
           - In the dark on Samsung stuff.. S15,for example
           - Punished for being inclusive... I was trying to raise Android awareness and knowledge... I
               presented to Philipp staff, Allan staff, Daniel Alegre staff, Matt Britten staff. All to create
               knowledge dissemination.
           - Disproportionaltely invest in our best googlers while enabling the rest
           - Expect our highest potential googlers to build a breadth of experiences
           - I am getting a new manager. Once again,someone will underpay me. Has no idea of my
               contribution
           - Sonos extension. Strange how I was right to begin with and somehow made to feel like I
               was wrong when I asked to go back to what I had recommended.
           - Looked back on comp... foundation grant at the very end. Joan went out of her way to
               underpay me.
                   - Massive delay on VP comp
                   - Flat VP comp in one high impact year and this is all cumulative.
           - Barabino, Shardell, Henrique, David Eun... even current leaders of Carlo, Joan and Daniel.
               Compare impact to $$ and massive difference.
           - Can't contain hypocrisy of the "how" when Jabal is a VP 2. All our senior leaders morally
               bankrupt.
        Jamie sets people up to fail. Veeru and solving for Pixel and the ecosystem.

        Description:
           - Career discussion; never happened with Jamie
           - 3 people reached out to me
                   - Will be hard for me to work for a person who does not teach me anything.
           - Shep wants to come back. Get more scope? Good leader along with Manjari and Ariel
           -
           - Frmo Ashish: the HP Chromestart deal, where we pay them tens of millions of dollars, will
               drive zero incremental value or volume to Google. It's a payout; but no incremental value.
                   - We are telling them to do things that we are going to do anyway.
                   - Just give us a termination right.
           - Worst thing he coul dhave done is taken away my commitment on no evidence after 16 years
               of service and loyalty
                   - 14 managers in 16 years
                   - Ornella said: if you want more money, bring me another offer.
                   - What she has done to get to Vp2.
           - Past 3 scores were bad. I am "how can I help you". Jamie is "here is what I need to look
               good in front of Hroshi".
           - Carlo's vacation was extraordinary. How do I get that?
           - Jamie asks for a OEM update and he gives it to Hiroshi. Why not Don? Why not me?




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